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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )                  8:14CR306
                      Plaintiff,               )
                                               )
       vs.                                     )                    ORDER
                                               )
FREDY AGUILAR-PORTILO,                         )
JOSE SALAZAR-BILLALBA, and                     )
DANIELLA ERICKSON,                             )
                                               )
                      Defendants.              )
       This matter is before the court on the motion to continue by defendant Jose Salazar-
Billalba (Salazar-Billalba) (Filing No. 69). Salazar-Billalba seeks a sixty-day continuance of
the trial of this matter scheduled for April 6, 2015. Salazar-Billalba’s counsel represents
Salazar-Billalba will file an affidavit whereby Salazar-Billalba consents to the motion and
acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Salazar-Billalba’s counsel represents that government’s counsel
has no objection to the motion. Upon consideration, the motion will be granted, and trial will
be continued as to all defendants.


       IT IS ORDERED:
       1.     Salazar-Billalba’s motion to continue trial (Filing No. 69) is granted.
       2.     Trial of this matter as to all defendants is re-scheduled for June 1, 2015,
before Senior Judge Joseph F. Bataillon and a jury. The ends of justice have been served
by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the
time between March 23, 2015, and June 1, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendants’ counsel require additional time to adequately prepare the case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 23rd day of March, 2015.
                                                   BY THE COURT:


                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
